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IN THE UNITED STATES I)ISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION
OLIVIA MYART, )
Plaintiff, §
vs. § NO.: 05-2060-D-An
WAL-MART STORES, INC., §
Defendant. §

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ORDER GRANTING MOTION TO CONTINUE SCHEDULING CONFERENCE

 

Before the Court is Plaintifi"s Motion to Continue Scheduling Conference filed on June

3, 2005. Pursuant to a Notice of Setting dated May 4, 2005, a Scheduling Conference was set for

June 8, 2005. J ames E. King, Jr., counsel for the Plaintiff, was present and advised the Court that

the Dei`endant has not been served in this matter. As such, for the reasons set forth above and for

good cause shown, the l\/lotion to Continue is GRANTED. The Scheduling Conference in this

matter shall be reset to WEDNESDAY, JULY 6, 2005 at 11:00 a.m.

lt shall be Mr. King’s duty to notify the Defendant or the Defendant’s counsel of the

setting of the Rule 16(b) Scheduling Conference. At least five days prior to the Scheduling

Conference, counsel shall file with the Clerk of the Court a joint proposed Rule lo(b) Scheduling

Order that complies With the model attached to the Notice of Setting dated May 4, 2005. If the

proposed Scheduling Order is approved, it will be entered, a copy Will be sent to the parties, and

the parties Will not be required to attend the Scheduling Conference.

Th!s document entered on the docket sheet in compliance
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with Ftu|e 58 andfor TS(a) FRCP on --

 

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IT IS SO ORDERED.

M_M
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: yQém OI', mar

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02060 vvas distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listedl

 

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Honorable Bernice Donald
US DISTRICT COURT

